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                EXHIBIT A
     TRANSCRIPT OF EXHIBIT 563
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  1    Call Date: 2018-09-15

  2    Call Duration: 3:10

  3    Call Begin: 20:15:44

  4    Participants

  5       RICK SINGER

  6       MARCI PALATELLA

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  8

  9    SINGER:      Marci.

  10   PALATELLA:   Hey can you hear me?

  11   SINGER:      Yeah.

  12   PALATELLA:   Are you having dinner?

  13   SINGER:      Nope.

  14   PALATELLA:   Ok. How are you?

  15   SINGER:      Everyday's a holiday when I am talking to

  16                  you.

  17   PALATELLA:   Oh yeah, ok [laughter]. I just want you to

  18                know. Two things, when I asked Gino, I said,

  19                "how much do you love it there on a scale of

  20                one to ten?" He's like, "oh mom at like nine

  21                five to nine seven."

  22   SINGER:      [Laughter]

  23   PALATELLA:   [UI] beyond.

  24   SINGER:      Good.


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  1    PALATELLA:   Yeah so I have to tell you for two years I

  2                 have been telling our neighbors who are

  3                 actually very close friends of ours--

  4    SINGER:      Hold on one quick second, one quick second.

  5    PALATELLA:   Go ahead.

  6                             (Call minimized)

  7    PALATELLA:   I've been telling, you know I don't say much

  8                 to anybody unless I think they'd be a good

  9                 candidate and so I've been telling her about

  10                you... well, about [UI] but she's definitely

  11                really overbearing. So about six weeks ago I

  12                said look, 'cause she's been going to

  13                the neighbor here. I said, "you need to get

  14                away from the neighbor, you need a higher end

  15                person," blah blah blah. So, finally she saw

  16                her daughter's essay and realized, she called

  17                me, she's like, "Ok, I'm in, I blew it," and

  18                I said "I am gonna give you the name but

  19                before I do I need to tell you, you need to

  20                let him work with her by himself. This can't

  21                be about you. She needs to have a

  22                relationship with him, blah blah blah. So,

  23                and so she wants she's pressing me for what

  24                it costs. I said "ok,"


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  1    SINGER:      Right.

  2    PALATELLA:   --"I'm gonna tell you the truth about

  3                 everything and you can't tell anyone."

  4    SINGER:      Right.

  5    PALATELLA:   I told-- I didn't tell her even everything.

  6    SINGER:      Right.

  7    PALATELLA:   She was screaming in the phone to me, "that

  8                 is the biggest bunch of bullshit I've ever

  9                 heard in my life. Who the fuck did, what,

  10                screaming, Doug would never_" I said,

  11                "Stop." "Nobody else does this." I said,

  12                "liar, liars. You know they're not telling

  13                you the truth". So she just came over and

  14                said to me, "you were totally wrong."

  15   SINGER:      [Laughter]

  16   PALATELLA:   [Laughter] Ok. Absolutely, I said, "I gotta_"

  17                She said to me, "Absolutely not. We had a

  18                conference call with him and and it is

  19                extremely expensive but Doug is willing to

  20                pay the eight thousand dollars." I'm like

  21                here is my jaw dropped and I'm like ok. You

  22                you know way more than I do. [Laughter] I'm

  23                like, I tried so hard. I mean I-- I'm if I am

  24                gonna tell somebody about you, I'm


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  1    SINGER:      [OV] Uh hm.

  2    PALATELLA:   it's gonna be very few people and I will

  3                 preface it with I'll

  4                 I'll hand you the right people. I am like oh

  5                 my God, I don't think Rick...

  6    SINGER:      I did not, we did not, we didn't go into any

  7                 of that because the mom--first of all, I

  8                 first get there and we start doing her

  9                 application which was all done wrong and I

  10                start going through this thing and she's

  11                telling me, you know, "we gotta have National

  12                Charity League". I said, "you're not having

  13                National Charity League. It's for a bunch of

  14                rich spoiled little girls and moms".

  15   PALATELLA:   Totally.

  16   SINGER:      And the daughter, Maddie, gets it, she's

  17                like, "mom, you don't get it. We're still

  18                gonna put it on,but we're gonna take the

  19                activities and make them each individual and

  20                not use NCL as our, as as as our

  21                framework." She gets it.

  22   PALATELLA:   [OV] She's a great kid.

  23   SINGER:      And her mom, yeah and her mom's getting

  24                pissed.


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  1    PALATELLA:   Oh yeah.

  2    SINGER:      I could see her getting pissed the whole

  3                 time. Right.

  4    PALATELLA:   [Laughter] I think she would be a fit with

  5                 you by the way.

  6    SINGER:      Right.     I said, "listen, you gotta back off,

  7                 you don't know anything. So back off, Maddie

  8                 and I got it. If you want to sit here and

  9                 listen the whole time. So by the time we are

  10                done after an hour and half, she's like, "I

  11                get it, it's yours. Just take it over." I'm

  12                like no shit Shakespeare.

  13   PALATELLA:   Exactly. She she she's telling me how she

  14                was, I know him so well now, I know

  15                everything. I said, "Oh Gosh it's so great

  16                you've had so many meetings". And then it

  17                turns out she's met you once. I said, "and

  18                now, and now you need to leave the God damn

  19                room ok".

  20   SINGER:      Yes.

  21   PALATELLA:   You know, it's-- I can't, uhh I know and I

  22                said to her it's gonna be his show and not

  23                you. This was uh six weeks ago I was at the

  24                Houston airport, she was screaming so loud I


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  1                 had to take it off speaker phone [laughter].

  2    SINGER:      [Laughter]

  3    PALATELLA:   She said to me, that is the biggest, and

  4                 you know she is a devout Mormon follower, but

  5                 she is saying that's the biggest fucking

  6                 bunch of bullshit I've ever heard in my life.

  7                 I mean crazy, went ballistic.

  8    SINGER:      I love it.

  9    PALATELLA:   No one would ever do that and I know tons

  10                of people who work with him. And I said no

  11                you don't and if you do they're lying ok.

  12   SINGER:      That's right [laughter].

  13   PALATELLA:   Everyone lies. One of my very best friends

  14                the Wilsons, ah [UI] Johnny are ...

  15   SINGER:      Yeah I just talked to, I just talked to um

  16                them this morning.

  17   PALATELLA:   They're, they're, and and I know I knew you

  18                were gonna work with the girls cause she told

  19                me. She's they, I said she's one of my best

  20                friends and when I said to her, "come on,

  21                what does it really cost?" I said, "I can't

  22                figure this out there is no way it's seven

  23                thousand dollars," she said to me, "you should

  24                talk to John I don't really know". Later I am


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  1                 like oh, bullshit. You know nobody, no

  2                 and I, so, so and Leslie's what, I mean,

  3                 Leslie and I share a lot. So I said nobody's

  4                 gonna tell you. I am trying to be your friend

  5                 and be honest. She was screaming her head

  6                 off, "who the hell does he think he is?".

  7                 This is six weeks ago, ok?

  8    SINGER:      Right. [laughter]

  9    PALATELLA:   I said, she goes that's ridiculous we

  10                probably wouldn't even work with him then. I

  11                said and "he won't miss you, there is a line

  12                out the door, ok."

  13   SINGER:      That's right [laughter].

  14   PALATELLA:   I am trying to be your friend here.

  15                [laughter] [UI] I'm telling you, this would

  16                have been like we should roast you at

  17                your 50t 1   birthday or something. It was like

  18                oh my God I, I I swear if I played this every

  19                one of the people who knew you well would

  20                have been on the floor.

  21   SINGER:      Oh, totally.

  22   PALATELLA:   Oh my God, I'm like I am telling you what

  23                no one else is gonna tell you and you don't

  24                wanna believe me. No way I talked to her


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  1                 boyfriend's parents. Oh good ok, I am sure

  2                 they confided everything in you.

  3    SINGER:      [OV]

  4    PALATELLA:   So anyway and she--

  5    SINGER:      Let-Let me, let me grab this call with this

  6                 young man. This is the kid who hasn't even

  7                 applied anywhere and he's a senior -,

  8    PALATELLA:   [OV] Go, go, go.

  9    SINGER:      -and he hasn't even done- See you, ok, bye

  10                bye.

  11

  12                       End of Audio File




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